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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : CRIMINAL ACTION
Vv. : NO. 21-229

MICHAEL GOLDNER

MEMORANDUM

KEARNEY, J. October 13, 2021

The grand jury returned an indictment charging a citizen with tax evasion for the tax years
2013 to 2017. The grand jury alleged, among other things, facts related to his earlier tax-related
conviction resulting in restitution allegedly paid by his employer, his failure to report
compensation paid by his employer on his behalf, and his conduct in failing to pay taxes after the
tax years 2013~2017 at issue. The citizen now moves to strike these allegations as not relevant and
prejudicial. We disagree with the citizen because we find the challenged allegations relevant to his
alleged evasion of tax assessments and payments.
I. Background

The grand jury charged Michael Goldner with one count of tax evasion.! Mr. Goldner
allegedly failed to pay tax bills for tax years 2013 to 2017.7 Mr. Goldner accrued $1,858,740 of
outstanding tax liabilities by January 2019.7 The Internal Revenue Service sent Mr. Goldner
numerous notices of this tax deficiency between 2016 and 2020.‘ He failed to file personal income
tax returns for tax years 2018 through 2020.°

The grand jury alleged Mr. Goldner undertook affirmative acts to evade tax payment.® It
alleged Mr. Goldner’s employer, Midtown Resources, paid his personal expenses, including

restitution obligations from a 2016 wire fraud and tax evasion conviction.’ Judge McHugh
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sentenced Mr. Goldner to five years’ probation and ordered him to pay almost $5 million in
restitution.’ The grand jury also charges Mr. Goldner filed tax returns without reporting
compensation and expenses Midtown Resources paid for him in 2016 and 2017,°

The grand jury included these allegations in two paragraphs and two portions of another
paragraph of the Indictment relating to Mr. Goldner’s 2016 conviction, restitution sentence, failure
to pay taxes from 2018 to 2020, and failure to report income his employer paid to him or on his

behalf:

3. From 2007 to 2011, defendant MICHAEL GOLDNER raised money from
numerous individuals for various real estate projects. Defendant GOLDNER made
fraudulent misrepresentations to these individuals regarding the projects.
Defendant GOLDNER also embezzled funds entrusted to him to pay taxes on
behalf of clients. As a result of this conduct, defendant GOLDNER was charged
with wire fraud and tax evasion in the Eastern District of Pennsylvania (case
number 15-002). On or about July 15, 2016, the defendant was sentenced to five
years’ probation and ordered to pay $4,986,266.00 in restitution.

11. Defendant MICHAEL GOLDNER did not file personal income tax returns
for the years 2018, 2019, and 2020.

12. From on or about January 4, 2016 through on or about December 31, 2020,
in the Eastern District of Pennsylvania, and elsewhere, defendant. . .

(c) arranged to have Midtown Resources pay personal expenses for him,
including the mortgage on the house where his family resided, rent for an
apartment where he resided, service for his pool, dance classes for his daughter, a
vacation for his family, and payments toward the restitution defendant GOLDNER
owed from the judgment in criminal case number 15-002;{'"]

(d) filed tax returns for the years 2016 and 2017 that failed to report
compensation and expenses that Midtown Resources paid on his behalf.!!

i. Analysis
Mr. Goldner moves to strike paragraphs 3, 11, and 12(c) and (d) from the indictment as
irrelevant and prejudicial surplusage under Federal Rule of Criminal Procedure 7(d). '2 The United

States responds the paragraphs include relevant information.'? We agree with the United States
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because—although the challenged paragraphs contain evidence arguably inadmissible at trial—
the challenged paragraphs include relevant information.

Rule 7(d) protects defendants from prejudicial allegations irrelevant to an indictment.'* We
may strike allegations if they are “both irrelevant (or immaterial) and prejudicial.”!> Judges
“rarely” grant motions to strike language in indictments charging tax evasion because of this
conjunctive standard.'® Courts can guard against possible prejudice arising from an indictment by
instructing a jury to only consider the admitted evidence at trial.'”

Evidence is relevant if it has any “tendency to make the existence of any fact that is of
consequence to the determination of the action more probable or less probable than it would be
without the evidence.”!® This standard is “not high.”!? Even “where language in an indictment is
not essential to the charges contained therein, the language will not be stricken as surplusage in
cases where the language is relevant in a general sense to the overall scheme alleged in the
indictment.””°

The United States must prove beyond a reasonable doubt to convict on tax evasion: “1) the
existence of a tax deficiency, 2) an affirmative act constituting an attempt to evade or defeat
payment of the tax, and 3) willfulness.”?! An affirmative act is “anything done to mislead the
government or conceal funds to avoid payment of an admitted and accurate deficiency.”?”
Affirmative acts of evasion involve “concealment of the taxpayer’s ability to pay his or her taxes
or the removal of assets from the reach of the Internal Revenue Service.”*? Concealment of assets
and income through others is also considered an affirmative act of evasion.** If the affirmative act
element is satisfied, “there is no question that willfulness is also present.”?°

Willfulness is a “voluntary, intentional violation of a known legal duty.”2° The United

States must prove beyond a reasonable doubt (1) the law imposed a duty on Mr. Goldner; (2) he
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knew the duty; and (3) he voluntarily and intentionally violated the duty.?’ Willfulness may be
inferred from circumstantial evidence or a pattern of conduct, “the likely effect of which would be
to mislead or to conceal.”’® Willful tax evasion may be proven by “a consistent pattern of

underreporting large amounts of income and by the taxpayer’s failure to include all his income on

his books and records.””?

A. Midtown Resources’s payment of Mr. Goldner’s restitution arising from his
2016 conviction is relevant.

Mr. Goldner moves to strike paragraphs 3 and 12(c), which describe Mr. Goldner’s 2016
conviction leading to his decision to have his employer, Midtown Resources, pay restitution he
owed for the conviction.*’ Mr. Goldner argues the 2016 conviction and restitution payments are
irrelevant and prejudicial because they bear no relation “both factually and temporally to the charge
at issue.”*! The United States responds the allegations prove Mr. Goldner’s concealment of his
assets and his ability to pay taxes.7” We agree with the United States.

Mr. Goldner’s earlier conviction and the restitution payments are relevant to the charged
offense of tax evasion. Mr. Goldner arranged Midtown Resources to pay restitution for him. Such
income concealment is an affirmative act of tax evasion.*? The convictions leading to the
restitution may constitute prejudicial evidence, but they do not extinguish the relevance of
Midtown Resources paying Mr. Goldner’s restitution because it concealed his true income.

We may later find this evidence inadmissible under Rule of Evidence 403.*4 The unfair
prejudice of Mr. Goldner’s previous conviction may outweigh its probative value, especially
considering its similarity to his present charges. We also may find it inadmissible as propensity
evidence under Rule 404(b).*° But we today only determine whether the evidence is relevant.°°

Because the evidence of Midtown Resources paying restitution constitutes relevant affirmative

acts of tax evasion, we deny Mr. Goldner’s Motion to strike paragraphs 3 and 12(d).
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B. Mr. Goldner’s failure to report compensation and expenses Midtown
Resources paid on his behalf is relevant.

Mr. Goldner moves to strike paragraph 12(d), in which our grand jury charges he failed to
report compensation and expenses Midtown Resources paid on his behalf.?’ Mr. Goldner argues
his failure to report is irrelevant and prejudicial because the conduct bears no relation to tax
evasion.*® The United States argues the allegations show Mr. Goldner misled the Service regarding
his true assets.*” We agree with the United States.

Paragraph 12(d) is relevant to tax evasion. Mr. Goldner misstated his tax returns by
concealing the amount of compensation and expenses his employer paid for him. The affirmative
act requirement for tax evasion includes misstating tax returns through wage concealment.*? Mr.
Goldner concedes this evidence “concern[s] assessed taxes for 2016 and 2017,” but argues we
should exclude it as propensity evidence.*! We will not presently determine such evidentiary
issues, only relevance and prejudice. This information is relevant to the charged offense because
affirmative acts are sufficient to show willfulness.7 We deny Mr. Goldner’s motion to strike
paragraph 12(d).

C. Mr. Goldner’s failure to file income tax returns from 2018 to 2020 is relevant.

Mr. Goldner moves to strike paragraph 11 of the Indictment, in which the grand jury
charges Mr. Goldner “did not file personal income tax returns for the years 2018, 2019, and
2020.3 He argues these facts are irrelevant and prejudicial because they have no bearing on
“whether he has willfully attempted to evade . . . income tax assessed for earlier tax years.”** The
United States responds these allegations are relevant because they reflect Mr. Goldner’s willful
attempts to conceal his income and evade payment of taxes already due.*? We find the allegations

relevant.
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The “mere failure to file a tax return cannot, by itself, support a finding that [defendant]
affirmatively attempted to evade the payment of taxes.’" “Only affirmatively evasive acts—acts
intending to conceal——are punishable under [section] 7201.”*” The grand jury charged Mr. Goldner
with both evading assessment and payment of taxes from years 2013 through 2017 under section
7201.48 In evasion of payment cases, the “required affirmative act generally occurs after the
filing.” Neither party here, however, cites cases handling motions to strike allegations the
detendant failed to file tax returns after the Service issued assessments for previous years.

We find Mr. Goldner’s failure to file returns for tax years 2018 through 2020 relevant to
his evasion of tax assessments and payments for tax years 2013 through 2017 because his failures
to file returns show his propensity to evade tax laws. Mr. Goldner’s mere failures to file taxes for
different tax years than the years at issue do not constitute direct evidence he committed tax
evasion.°° But his failures to file in tax years 2018 through 2020 evince a pattern of disregarding
his tax obligations, which would allow a jury to infer Mr. Goldner evaded his tax obligations from
2013 through 2017. These allegations do not constitute “essential” evidence, but they are at least
“relevant in a general sense to the overall scheme” alleged.*!

The evidence’s relevance for propensity does not make it admissible. “Evidence of any
other crime, wrong, or act is not admissible to prove a person’s character in order to show that on
a particular occasion the person acted in accordance with the character.““* But we today only
decide whether the evidence is relevant. Character evidence is relevant.** We deny motions to
strike even while acknowledging the challenged allegations may be inadmissible under Rule
404(b).4 We deny Mr. Goldner’s Motion to strike paragraph 11 remaining mindful of the

“exacting standard” we must apply to motions to strike surplusage.°> We do not decide whether

the evidence is admissible at trial; we only find the evidence is relevant because it at least
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constitutes relevant character evidence. The parties may challenge the evidence’s admissibility

through motions in limine.

il. Conclusion

Michael Goldner moves to strike surplusage from the Indictment charging him with one
count of tax evasion. Federal Rule of Criminal Procedure 7(d) permits us to strike surplusage in
an indictment if the allegations are not relevant and prejudicial. We deny Mr. Goldner’s Motion to

strike the challenged information because it is relevant to the charged tax evasion offense.

 

' 26 U.S.C. § 7201; ECF Doe. No. 1.
2 ECF Doc. No. 1 §§ 4-8.

31d. §8.

“Id 49.

57d. 911.

6 Id § 12.

"Id. § 12(c).

* Id. 3; Judgment, ECF Doc. No. 48 at 2-5, United States v. Goldner, No. 15-2 (E.D. Pa. July 20,
2016).

° ECF Doc. No. 1 § 12(d). The grand jury charged Mr. Goldner with two other affirmative acts to
evade payment: (1) directing his employer to deposit compensation into his wife’s bank account
and (2) cashing checks written to him where the funds were held. Jd. § 12(a—-b).
'° Mr. Goldner moves to strike only the emphasized portion of paragraph 12(c).

'! Id. 93, 11, 12, 12(c) (emphasis added), 12(d).

'? ECF Doe. No. 20. “Upon the defendant’s motion, the court may strike surplusage from the
indictment or information.” Fed. R. Crim. P. 7(d).

'5 ECF Doc. No. 23.
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'4 United States v. Hedgepath, 434 F.3d 609, 612 (3d Cir. 2006); see also Fed. R. Crim. P. 7(d)
advisory committee note (“This rule introduces a means of protecting the defendant against
immaterial or irrelevant allegations in an indictment or information, which may, however, be

prejudicial.”’).

'S Hedgepath, 434 F.3d at 612. “[I]nformation that is prejudicial, yet relevant to the indictment,
must be included for any future conviction to stand and information that is irrelevant need not be
struck if there is no evidence that the defendant was prejudiced by its inclusion.” Jd.

'6 Td at 611.

'” See id. at 613 (“Hedgepath’s claim of prejudice fails . . . as information never revealed to the
jury could not have prejudiced its deliberations.”); United States v. Kraynak, No. 17-403, 2021
WL 3077505, at *6 (M.D. Pa. July 20, 2021) (denying a motion to strike because risk of prejudice
is mitigated by jury instructions where “the [clourt will advise the jury that the indictment is not
evidence, and that the jury must solely follow the law as explained by the [cJourt’”); United States
v. Caruso, 948 F. Supp. 382, 392 (D.N.J. 1996) (“[D]efendant’s claims of prejudice stemming
from the language in the indictment can be more than adequately addressed with instructions to
the jury that they are not to consider the indictment as evidence and that the indictment should not
be relied upon as providing any inference of guilt against the defendant.”’).

'8 United States v. Kemp, 500 F.3d 257, 295 (3d Cir. 2007) (quoting Fed. R. Evid. 401); see also
United States v. Ding, No. 15-35, 2015 WL 4111715, at *2 (E.D. Pa. July 8, 2015) (applying
Federal Rule of Evidence 401 to determine relevancy for a Rule 7(d) motion to strike).

'° Kemp, 500 F.3d at 295 (quoting United States v. Steele, 685 F.2d 793, 808 (3d Cir. 1982)).

0 Caruso, 948 F. Supp. at 392.

*! United States v. McGill, 964 F.2d 222, 229 (3d Cir. 1992).

2 Id. at 230.

°3 Id.; see also United States v. McKee, 506 F.3d 225, 234 (3d Cir. 2007) (holding defendants
evaded taxes by filing tax returns misrepresenting employee wages).

4 McGill, 964 F.2d at 230 (“Affirmative acts of evasion of payment include: placing assets in the
name of others; dealing in currency; causing receipts to be paid through and in the name of others;
and causing debts to be paid through and in the name of others.” (emphasis removed)).

°5 Jd. at 238 (internal quotations omitted).

26 United States v. Stadtmauer, 620 F.3d 238, 255 (3d Cir. 2010) (quoting Cheek v. United States,
498 U.S. 192, 201 (1991)).

27 Cheek, 498 U.S. at 201.
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8 McGill, 964 F.2d at 237 (quoting Spies v. United States, 317 U.S. 492, 499 (1943)).

*° United States y. Ashfield, 735 F.2d 101, 105 (3d Cir. 1984).

30 ECF Doc. No. | 493, 12(c).

3! ECF Doc. No. 20 at 5.

°? ECF Doc. No. 23 at 3-4.

33: McGill, 964 F.2d at 230.

34 “The court may exclude relevant evidence if its probative value is substantially outweighed by
a danger of one or more of the following: unfair prejudice, confusing the issues, misleading the

jury, undue delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 403.

35 “Rvidence of any other crime, wrong, or act is not admissible to prove a person’s character in
order to show that on a particular occasion the person acted in accordance with the character.”

Fed. R. Evid. 404(b).

36 See, e.g., United States v. Kostenko, No. 16-221, 2017 WL 1395500, at *3 (S.D. W. Va. Apr.
17, 2017) (noting certain evidence “may be unfairly prejudicial,” but still denying motion to strike
because “the contested allegations are relevant”); United States v. Paulus, No. 15-15, 2015 WL
13735785, at *6 (E.D. Ky. Nov. 25, 2015) (“Ultimately, the determinative question underlying
any motion to strike surplusage is the relevance of the allegation to the crime charged.” (emphasis
in original)), report and recommendation adopted, No. 15-15, 2016 WL 280300 (E.D. Ky. Jan.
22, 2016).

77 ECF Doc. No. 1 § 12(d).

38 ECF Doc. No. 20 at 6.

3° ECF Doe. No. 23 at 5.

"0 McKee, 506 F.3d at 234.

“ ECF Doc. No. 20 at 6.

* See McGill, 964 F.2d at 238.

“3 ECF Doc. No. 1 § LI.

“4 ECF Doc. No. 20 at 6.

45 ECF Doc. No. 23 at 4-5.
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46 McKee, 506 F.3d at 234 (emphasis in original).

47 McGill, 964 F.2d at 231.

48 Td at 230 (“Section 7201 encompasses two kinds of affirmative behavior: the evasion of
assessment and the evasion of payment.”).

49 Td

30 See McKee, 506 F.3d at 234.

*! Caruso, 948 F. Supp. at 392.

>? Fed. R. Evid. 404(b)(1).

3 See Fed. R. Evid. Art. IV (titled “Relevance and its Limits’).

4 See, e.g., United States v. Burke, No. 16-29, 2016 WL 5934693, at *3 (D. Conn. Oct. 12, 2016)
(noting it is only “possible” evidence of prior convictions will be admissible under Fed. R. Evid.
404(b), but denying motion to strike it as surplusage); United States v. Golding, No. 13-522, 2014
WL 12669556, at *3 (E.D. Mo. Oct. 17, 2014 (“[T]he past conduct described in the challenged
paragraphs is similar to the conduct alleged in the instant offense. As such, the challenged
allegations ... resemble improper propensity evidence. However, that fact alone is not a sufficient
basis for striking the allegations particularly when, as set forth above, the challenged allegations
are relevant to specific elements of the government’s case and can be offered for reasons other
than propensity.”), report and recommendation adopted, No. 13-522, 2014 WL 12669599 (E.D.
Mo. Nov. 3, 2014).

5 § 128 Amendment of Indictments; Surplusage, 1 Fed. Prac. & Proc. Crim. § 128 (4th ed.).

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